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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Malibu Media, LLC
                                Plaintiff,
v.                                                    Case No.: 1:19−cv−01958
                                                      Honorable Jorge L. Alonso
John Doe
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 9, 2019:


        MINUTE entry before the Honorable Jorge L. Alonso: The Court previously
allowed plaintiff's counsel to proceed with expedited discovery and issue subpoena(s) to
determine the identity of the Doe defendant [9]. In the meantime, plaintiff's Doe
complaint is dismissed without prejudice to the filing of a proper amended complaint
which expressly names the defendant. All discovery and third party subpoenas must be
complied with even though the pending complaint is dismissed without prejudice. This
case is dismissed for administrative purposes. Notice mailed by judge's staff (ntf, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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